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          Court Name: Southern District of Georgia
          Division: 4
          Receipt Ober: SA25961
          Cashier ID: ]herb
          Transaction Date: 04/18/2016
          Payer Name: Bracker and Marcus LLC
          CIVIL FILING FEE
           For: Bracker and Marcus LLC
           Case/Party: D-GAS-4-1 5-CV-CXX92-O01
           Amount:
          CECK
           Check/Money Order Num: 068
           Amt Tendered: $400.00

          Jt1        ered:
          Change Am t:
                            88:
                           $0.00
